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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 18-cv-2561-RBJ

PRECISION DISCOVERY, INC., f/k/a
PRECISION DISCOVERY, LLC

Plaintiff,

v.

HITACHI VANTARA CORPORATION f/k/a
HITACHI DATA SYSTEMS, COLD
CREEK SOLUTIONS, INC., and
HOWARD HOLTON, in his individual and
professional capacities,

Defendants.


                      RESPONSE TO ORDER TO SHOW CAUSE
        In Response to the Honorable R. Brooke Jackson’s Order to Show Cause for

reasons why this action should not be dismissed for a failure to prosecute, Plaintiff

Precision Discovery, Inc., f/k/a Precision Discovery, LLC (“Plaintiff” or “Precision”), by

and through its undersigned counsel admitted pro hac vice, Wigdor LLP, and its local

counsel, Harris, Karstaedt, Jamison & Powers, P.C., respectfully submits the following

response:

        1.    This case was originally filed by Plaintiff on October 5, 2018. See ECF

Dkt. No 1.

        2.    However, prior to filing the instant action with the Court, Plaintiff had been

the subject of a lawsuit by Hitachi Data Systems Credit Corporation (“HDSCC”), which

is a related entity to one of the Defendants in the instant action, Hitachi Vantara
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Corporation F/K/A Hitachi Data Systems (“HDS”).1 That action, styled Hitachi Data

Systems Credit Corp. v. Precision Discovery, 17-cv-06851 (SHS), was filed in the

Southern District of New York (“SDNY”) in October 2017 (the “HDSCC Action”).

       3.     On November 14, 2017, Precision filed its Answer to the HDSCC Action.

Precision simultaneously filed counterclaims against HDSCC and third party claims

against HDS and Cold Creek Solutions, Inc. (“Cold Creek”). See Ex. 1.

       4.     On January 19, 2018, HDS filed a Motion to Dismiss Precision’s

Counterclaims in the HDSCC Action, on the grounds that the Southern District of New

York did not have personal jurisdiction over it as a defendant and asserting that

Precision failed to state a cause of action.

       5.     On February 2, 2018, Cold Creek filed a similar Motion to Dismiss, on the

grounds the Southern District of New York did not have personal jurisdiction over it as a

defendant and that Precision failed to state a cause of action.

       6.     On September 7, 2018, the SDNY Court issued an Order on the Motions

to Dismiss filed by HDS and Cold Creek in the HDSCC Action. Specifically, the SDNY

Court ordered that Precision’s claims against HDS and Cold Creek were required to be

dismissed because of a lack of personal jurisdiction.        However, the SDNY Court

permitted Precision’s counterclaims against HDSCC to proceed to discovery. See Ex.

2.




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       Specifically, HDSCC is engaged in the business of providing intermediate or
long-term general and industrial credit to its Hitachi client lessees, including Precision,
for the equipment they lease from HDS. In other words, HDSCC was, at all relevant
times, merely acting as the financing pass-through company for the services actually
provided by HDS and/or Cold Creek, providing capital to Precision that was immediately
passed through to the other technology/equipment entities (e.g., HDS and Cold Creek).

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       7.     Thereafter, Plaintiff instituted the instant action against HDS and Cold

Creek on October 9, 2018.

       8.     Before engaging in discovery in the HDSCC Action, Precision and HDSCC

agreed to attend a private mediation on December 13, 2018. The goal of the private

mediation was to facilitate a global resolution of all claims in both the HDSCC Action

and in the instant action.

       9.     In deference to the December 13, 2018 mediation, and in an effort to save

costs and resources for all parties, Precision did not take any action to serve HDS at

that time.

       10.    Although the December 13, 2018 mediation was unsuccessful, the SDNY

Court in the HDSCC Action ordered the parties to attend a second mediation in an effort

to resolve all of the claims asserted by the parties. See Ex. 3.

       11.    Subsequently, Precision and HDSCC attended a second mediation on

February 21, 2019.

       12.    At the February 21, 2019 mediation, Precision and HDSCC reached an

agreement in principle that would have resolved all of the claims in the HDSCC matter,

and that would have necessitated a global release covering the instant action as well.

       13.    Accordingly, on February 25, 2019, Precision filed an unopposed motion

with the Court seeking an extension of all of the deadlines in this case for a period of 30

days to allow the parties to finalize the settlement agreement. See Dkt. No. 10.

       14.    Unfortunately, despite the fact that all of the parties worked diligently to

finalize an agreement based upon the tentative framework of the resolution that had

been reached at the February 21, 2019 mediation, the nature of the settlement proved




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complex and involved several unusual legal complications due to the nature of the

corporate entities and disputed debts involved (e.g., Precision is an Employee Stock

Ownership Plan (ESOP)). As a result, the parties ultimately were unable to agree to a

formal settlement.

      15.    Precision then promptly filed an Amended Complaint as a matter of right

pursuant to Federal Rules of Civil Procedure 15(a).

      16.    However, despite the fact that the parties could not formalize a settlement

pursuant to the terms reached at the February 21, 2019 mediation, the parties

continued to discuss the framework of a different resolution, and exchanged several

substantive settlement proposals in the intervening weeks.

      17.    Because the parties continued to attempt to resolve the claims related to

this case, on April 11, 2019, Precision consented to Cold Creek’s Request for an

Extension of Time to Answer the Amended Complaint. See Dkt. No. 15.

      18.    Precision did not grant Cold Creek’s request in an effort to delay the case

or to abandon its claims.     Instead, it again sought to preserve all of the parties’

resources by allowing Cold Creek to avoid the expenditure of unnecessary time and

expense when Precision believed, in good faith, that the parties still could successfully

reach a global settlement.

      19.    As further evidence that Precision did not seek to simply delay the

prosecution of its claims, Precision filed an Amended Complaint on March 29, 2019 and

filed an Answer to Cold Creek’s Counterclaims on that same date. See Dkt. No. 12 and

13.




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       20.    The Answer to Cold Creek’s Counterclaims and the Amended Complaint

were filed by Precision on March 29, 2019, within the deadlines set forth in this Court’s

February 26, 2019 Order. See Dkt. No. 11.

       21.    Precision served HDS with a copy of the Complaint on June 27, 2019.

       22.    As explained above, Precision deferred serving HDS in an effort to save

the parties resources, while attempting to negotiate a resolution with the Hitachi entities

that would encompass the claims in both the HDSCC Action and the instant action.

       23.    Precision’s desire to save resources was particularly important because

Plaintiff has been experiencing significant financial difficulties over the last several

months.

       24.    The financial issues with Precision have become so severe that it has

called into question its ability to function as an ongoing concern.

       25.    As a result, Precision has been diligently searching for a buyer to acquire

it.

       26.    Given the uncertainties facing Precision, as well as its dire financial

situation, it did not make sense to spend additional money and resources on a lawsuit

until it was clear that a resolution was not imminent, and Plaintiff secured a level of

stability concerning its future prospects.

       27.    Recently, however, Precision has entered into negotiations with a potential

buyer that would alleviate the financial issues it faces.

       28.    Precision is therefore prepared to proceed with litigating this action.

       29.    Precision’s decision earlier this month to consent to HDS’s request for

additional time to serve its Answer was not a dilatory tactic.




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       30.      Instead, Precision consented to HDS’s request as a matter of professional

courtesy that Plaintiff’s counsel customarily extends to its adversaries, particularly

where it has been represented that HDS has obtained new counsel in the instant matter

and the new attorneys needed the additional time to become familiar with the case and

prepare their papers.

       31.      Because HDS had recently retained counsel in this matter, Precision had

no objection to HDS’s counsel taking additional time to get up to speed in the case

before proceeding.

       32.      Precision’s decision to defer serving Defendant Holton likewise was not a

delay tactic.

       33.      In Precision’s February 25, 2019 Unopposed Motion to Extend the

Deadlines in the case, Precision requested that its deadline to file an Amended

Complaint as a matter of right be extended until March 29, 2019. See Dkt. No. 10.

       34.      The Court granted this request on February 26, 2019. See Dkt. No. 11.

       35.      In keeping with the Court’s deadlines, as explained above, Precision filed

an Amended Complaint on March 29, 2019. See Dkt. No. 13.

       36.      That same day, Precision filed a Request for a Summons to be Issued so

that it could effectuate service on Howard Holton. See Dkt. No. 14.

       37.      Plaintiff subsequently filed a Notice of Filing an Amended Complaint, with

a red-lined copy of the Amended Complaint reflecting the changes made, pursuant to

Local Civil Rule 15.1 (a), on April 19, 2019.

       38.      When Plaintiff served HDS in June 2019, it noticed that the Court had

never issued a summons for Mr. Holton.




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       39.    Subsequently, in speaking with the Court’s clerk, Plaintiff learned that it

was not permitted to file the Amended Complaint as a matter of right pursuant to

Federal Rules of Civil Procedure 15(a)(1).

       40.    The clerk informed Precision that, because the Amended Complaint was

filed more than 21 days after Cold Creek filed a responsive pleading, the Amended

Complaint needed to be filed through a motion, as set forth in Federal Rules of Civil

Procedure 15(a)(2).

       41.    Although Precision pointed out that the parties had agreed to extend

Plaintiff’s time to file an Amended Complaint, and the Court had subsequently granted

the extension request, Precision was told that the parties’ agreement was insufficient to

extend the deadline.

       42.    Again, Plaintiff intended to, and still intends to, prosecute its claims,

including against Defendant Holton.

       43.    Plaintiff’s delay in serving Holton is simply due to the confusion about the

Court’s practices, which Precision will promptly remedy.

       44.    As a result of the foregoing, Plaintiff respectfully requests that the Court

permit it to continue to prosecute this action.

       45.    There will be no prejudice to any party if Plaintiff is permitted to proceed

with its lawsuit, as evidenced by the parties’ cooperation on deadlines and other matters

to date.

       46.    If permitted to do so, Plaintiff intends to promptly and diligently litigate this

case going forward.




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       47.     Plaintiff does not anticipate any issues that would cause further delays in

this action at this time.

       WHEREFORE, Plaintiff respectfully requests that the Court keep this action on its

Docket for the reasons set forth in this Response.

Dated: July 29, 2019
      Denver, Colorado                           WIGDOR LLP


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